   Case 2:21-cv-07015-DSF-GJS Document 10 Filed 10/18/21 Page 1 of 1 Page ID #:71

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV21-07015-AS                                                   Date      October 18, 2021
 Title            United African-Asian Abilities Club et al v. Crown Encino Apartments, LLC et al




 Present: The Honorable          Alka Sagar, United States Magistrate Judge
                        Alma Felix                                                    N/A
                       Deputy Clerk                                      Court Reporter / Recorder
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                             N/A                                                      N/A
 Proceedings:                 (IN CHAMBERS) ORDER TO SHOW CAUSE


        On August 31, 2021, Plaintiff filed a complaint (Docket Entry No. 1). On September 1, 2021, the
Court issued a minute order (Docket No. 7), reminding plaintiff that a proof of service must be filed within
10 days of service of the summons and complaint. Additionally, on October 11, 2021, a Stipulation
Extending Time to Answer was filed by Defendants (Docket No. 9). To date, Plaintiff has failed to file a
proof of service or request an extension of time in which to do so.

        The parties are reminded that in order for the above-entitled case to proceed with the assigned
magistrate judge, they must file and serve joint or separate Consent form(s), indicating whether each party
consents to have a magistrate judge assigned to this case. Plaintiff must file the Consent form within forty-
two (42) days after service of the summons and complaint upon the first-served defendant. Each defendant
must file the Consent form within forty-two (42) days after service of the summons and complaint upon that
defendant. If the United States, an agency of the United States, or an officer or employee of the United States
is a defendant, the government must file the Consent form within sixty (60) days after service of summons
and complaint upon each defendant.

         Accordingly, Plaintiff is ORDERED TO SHOW CAUSE no later than October 25, 2021 why this
action should not be dismissed with prejudice for failure to prosecute. Plaintiff may discharge this Order by
filing a proof of service.



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                                                               Initials of Preparer               AF




CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                   Page 1 of 1
